                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                     )
                                               )
               Plaintiff,                      )
                                               )
 v.                                            )       No.: 3:12-CR-101-TAV-CCS-15
                                               )
 LARA BOLTON,                                  )
                                               )
               Defendant.                      )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s pro se motions for jail

 credit [Docs. 716, 724]. The defendant requests the Court to alter the judgment so as to

 grant her jail credit for time she served from February 16, 2012 until September 3, 2012

 in the Anderson County Detention Center on state charges. She submits that the Court

 ordered for her sentence to be run concurrently with her state sentence.

        The Court directed the government to file a response to the defendant’s motion

 [Doc. 726]. The United States has filed a response [Doc. 731], in which it states that the

 Court lacks jurisdiction to alter the judgment, as the time has passed to alter the judgment

 under Federal Rule of Criminal Procedure 35(a), and the defendant is not alleging a

 clerical error based on oversight or omission, pursuant to Federal Rule of Criminal

 Procedure 36. Additionally, the United States submits that the defendant’s prior term of

 imprisonment—from February 16, 2012 through August 7, 2012—was not an

 undischarged term of imprisonment, so the judgment [Doc. 546] does not call for it to be

 run concurrently with her federal sentence. The government also notes that, pursuant to



Case 3:12-cr-00101-TAV-HBG        Document 770 Filed 03/04/16          Page 1 of 3    PageID
                                        #: 3671
 the judgment, the Bureau of Prisons has given the defendant credit for all time served

 since September 4, 2012 [Doc. 781 p. 2].

        As this motion was filed more than fourteen days after sentencing, the Court

 interprets this motion to be a motion to correct the judgment. Fed. R. Crim. P. 36.

 Pursuant to Federal Rule of Civil Procedure 36, “the court may at any time correct a

 clerical error in a judgment, order, or other part of the record, or correct an error in the

 record arising from oversight or omission.” Fed. R. Crim. P. 36. The Sixth Circuit has

 recognized that “a clerical error must not be one of judgment or even of misidentification,

 but merely of recitation, of the sort that a clerk or amanuensis might commit, mechanical

 in nature.” United States v. Robinson, 368 F.3d 653, 656 (6th Cir. 2004) (citations

 omitted) (also noting that “Rule 36 has been consistently interpreted as dealing only with

 clerical errors, not with mistakes or omissions by the court”). Like the Second and

 Seventh Circuits, the Sixth Circuit has noted that Rule 36 “is not a vehicle for the

 vindication of the court’s unexpressed sentencing expectations, or for the correction of

 errors made by the court itself.” Id. at 656–57 (citations omitted).

        The Court notes that pursuant to the defendant’s judgment, the defendant’s federal

 sentence was to be run concurrently “with any undischarged term of imprisonment in

 Criminal Court, Roane County, T[ennessee] case [number] 13897 and that the

 defendant’s federal sentence begin effective as of September 4, 2012” [Doc. 546 p. 2].

 The Court finds that it cannot amend the defendant’s judgment so as to grant her jail

 credit for time she served from February 16, 2012 until September 3, 2012 in Criminal

                                              2


Case 3:12-cr-00101-TAV-HBG        Document 770 Filed 03/04/16           Page 2 of 3   PageID
                                        #: 3672
 Court, Roane County, Tennessee case number 13897, as amending the judgment in this

 way would not qualify as the sort of clerical error amendment authorized by the Sixth

 Circuit under Rule 36.

       Accordingly, the defendant’s motions [Docs. 716, 724] are DENIED.

       IT IS SO ORDERED.



                                 s/ Thomas A. Varlan
                                 CHIEF UNITED STATES DISTRICT JUDGE




                                          3


Case 3:12-cr-00101-TAV-HBG      Document 770 Filed 03/04/16       Page 3 of 3   PageID
                                      #: 3673
